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                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF INDIANA

 Exodus Refugee Immigration, Inc.,                No. 1:15-cv-01858-TWP-DKL

        Plaintiff,

               v.

 Mike Pence, in his official capacity as
 Governor of the State of Indiana, and
 John Wernert, in his official capacity as
 the Secretary of the Indiana Family and
 Social Services Administration,

        Defendants.



   Order Granting Episcopal Migration Ministries’ Motion for
     Extension of Time to File Reply Supporting Fee Petition

 Nonparty Episcopal Migration Ministries has requested an extension of time to file

 its reply in support of its Petition for Fees. The Court GRANTS the motion.

        The Court ORDERS that Nonparty Episcopal Migration Ministries has

 through July 11, 2016, to file its reply in support of its fee petition.




 SO ORDERED this _________________.




 __________________________
 Judge, United States District Court




 Service will be made electronically on all ECF-registered counsel of record by e-mail
 generated by the Court’s ECF system.
